         Case 22-31641-mvl7         Doc 461 Filed 12/06/23 Entered 12/06/23 16:30:51              Desc
                                    Court Admitted Exhibits Page 1 of 1
BTXN 208 (rev. 07/09)
                                     [449]Motion to compromise controversy with AMRR
IN RE: Goodman Networks, Inc.       Regarding OnePath Systems, LLC. Trustee's Expedited       Case #
and Goodman Networks Inc            Motion to Approve Transaction with AMRR Regarding     22−31641−mvl7
d/b/a Goodman Solutions                            OnePath Systems, LLC
DEBTOR
                                                  TYPE OF HEARING

Trustee Scott M. Seidel                                     VS
                                                                                          DEFENDANT /
PLAINTIFF / MOVANT                                                                        RESPONDENT


Davor Rukavina
ATTORNEY                                                                                  ATTORNEY


                                                       EXHIBITS
Trustee Exhibits A, B, C, E and F




Hawaii Jeng                                        12/6/2023                 Michelle V. Larson
                                                   HEARING
REPORTED BY                                                                 JUDGE PRESIDING
                                                   DATE
